          Case 2:21-mj-04866-DUTY Document 1 Filed 10/22/21 Page 1 of 1 Page ID #:1

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                                       UNITED STATES DISTRICT COURT ~ ~~' ~                                   "'
                                      CENTRAL DISTRICT OF CALIFORNIA
 United States of America                                        CASE NUMBER


                                                 PLAINTIFFS)                ~ ~''       ~      IVIJ o~ 1 - ~"~6 ~
                               V.

 Eugene Huelsman
                                                                                 DECLARATION RE
                                              DEFENDANT~s).                  OUT-OF-DISTRICT WARRANT



The above-named defendant was charged by:Indictment
In th2 Northern                            D1StT'1Ct of Florida Pensacola                       On May 18> 2021
at 430           ~ a.m. / ~ p.m. The offense was allegedly committed on or about January 9, 2021
in violation of Title ~s                            U.S.C., Sections) 845(c)
to wit: Transmission in Interstate Commerce a Communication Containing a Threat to Injure The Person of Another


A warrant for defendant's arrest was issued by: Magistrate Jude Elizabeth M.Timothy

Bond of$                                  was pset /~ recommended.

Type of Bond:

Relevant doCument(s) on hand (attach): Indictment and Arrest Warrant



I declare under penalty of perjury that the foregoing is true and correct.

Executed on        10/22/2021
                      Date


/s/ Ryan Cunningham                                                Ryan Cunningham
Signature of Agent                                                 Print Name of Agent


FBI                                                                Special Agent
Agency                                                             Title




CR-52(03/20)                             DECLARATION REOUT-OF-DISTRICT WARRANT
